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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 X CORP.,                                        Court File No. 25-cv-1649 (LMP/DLM)

                      Plaintiff,

 vs.                                                       MEMORANDUM OF LAW
                                                                  IN SUPPORT OF
 KEITH ELLISON, in his official capacity,                   DEFENDANT’S MOTION
 as Attorney General of Minnesota,                         TO STAY PROCEEDINGS

                      Defendant.



                                   INTRODUCTION

       Deepfakes are highly realistic video, audio, and other digital content generated by

artificial intelligence. They depict a person doing or saying something they did not do or

say. In this case, X challenges Minnesota Statutes Section 609.771, which criminalizes the

knowing or reckless dissemination of deepfakes that are intended to injure a candidate or

influence an election. X brings three causes of action.

       First, X alleges the statute violates the First Amendment (facially and as-applied)

because it allegedly imposes content-, viewpoint-, and speaker-based speech restrictions,

which do not survive strict scrutiny. Second, X alleges the statute is preempted by Section

230 of the Communications Decency Act of 1996. Third, X alleges the statute is void for

vagueness under the First and Fourteenth Amendments.

       As this Court is aware, a separate challenge to the statute is already pending, and

that challenge is currently at the U.S. Court of Appeals for the Eighth Circuit: Kohls v.
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Ellison, Case No. 25-1300. The District of Minnesota has identified these cases as related.

Indeed, X attached a brief from that case to their Complaint in this case. Because the

Eighth Circuit may interpret the statute in a way that will affect this case, and X will suffer

no prejudice, Attorney General Ellison respectfully requests this Court stay this action until

the Eighth Circuit resolves the appeal in Kohls. This Court can then consider both this case

and Kohls at the same time.

                            PROCEDURAL BACKGROUND

       Section 609.771 was passed in 2023 and amended in 2024. 2023 Minn. Laws

ch. 58, § 2; 2024 Minn. Laws ch. 112 art 2 §§ 76-78. It imposes criminal penalties related

to the dissemination of artificially generated deep fakes in the election context. The statute

defines deep fake as:

       any video recording, motion-picture film, sound recording, electronic image,
       or photograph, or any technological representation of speech or conduct
       substantially derivative thereof:

              (1) that is so realistic that a reasonable person would believe it depicts
              speech or conduct of an individual who did not in fact engage in such
              speech or conduct; and

              (2) the production of which was substantially dependent upon
              technical means, rather than the ability of another individual to
              physically or verbally impersonate such individual.

Minn. Stat. § 609.771, subd. 1(c). A person who disseminates (or enters into an agreement

to disseminate) a deep fake is guilty of a crime if the person knows or acts with reckless

disregarding whether the item is a deep fake and dissemination:

       (1) is made without the consent of the depicted individual;




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       (2) is made with the intent to injure a candidate or influence the result of an
       election; and

       (3) takes place either:

              (i) within 90 days before a political party nominating convention; or

              (ii) after the start of the absentee voting period prior to a presidential
              nomination primary, or a regular or special state or local primary or
              general election.

Minn. Stat. 609.771, subd. 2(a). Broadcasters and cable television are not liable if the deep

fake is produced by a candidate and the broadcaster or cable television system was required

to disseminate it under federal law. Id., subd. 2(b).

       On September 27, 2024, Christopher Kohls, a social media content creator, and

Mary Franson, a member of the Minnesota House of Representatives, filed a lawsuit

challenging the statute. Complaint, Kohls v. Ellison, ECF No. 1, Case No. 0:24-cv-03754

(LMP/DLM) (D. Minn. Sept. 27, 2024). The Kohls plaintiffs advance three theories: First,

they allege the statute violates the First Amendment and the Minnesota Constitution

(facially) because it is a content-based statute that does not survive strict scrutiny. 1 See id.

¶ 91. Second, they advance a First Amendment as-applied challenge, arguing the statute

imposes criminal liability on them “for creating and/or disseminating [Artificial

Intelligence]-generated political commentary on social media.” Id. ¶ 100. Third, they

argue the statute is void for vagueness under the Fourteenth Amendment. Specifically,

they argue the following phrases are unconstitutionally vague: (a) “substantially dependent



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  Although not directly alleged in the Complaint, the Kohls plaintiffs have also argued that
section 609.771 violates the First Amendment because it discriminates based on viewpoint.


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upon technical means”; (b) “so realistic that a reasonable person would believe it depicts

speech or conduct of an individual who did not in fact engage in such speech or conduct”;

(c) “made with the intent to injure a candidate or influence the result of an election”; and

(d) “disseminates a deep fake.” Id. ¶¶ 115-18.

       About two weeks after filing the lawsuit, the Kohls plaintiffs moved for a

preliminary injunction. Motion for Preliminary Injunction, Kohls v. Ellison, ECF No. 10,

Case No. 0:24-cv-03754 (LMP/DLM) (D. Minn. Oct. 11, 2024). This Court denied the

motion. The Court determined that Kohls lacked standing. Kohls v. Ellison, No. 24-CV-

3754 (LMP/DLM), 2025 WL 66765, at *5 (D. Minn. Jan. 10, 2025), appeal docketed,

No. 25-1300 (8th Cir. Feb. 12, 2025). The Court concluded that Representative Franson

had standing, id. at *6, but denied the motion because Representative Franson did not

demonstrate that she would be irreparably harmed absent injunctive relief, id. at *9. The

Kohls plaintiffs appealed. Notice of Appeal, Kohls v. Ellison, ECF No. 52, Case No.

0:24-cv-03754 (LMP/DLM) (D. Minn. Feb. 7, 2025).

       The Kohls parties “agree[d] that Plaintiffs’ appeal is likely to resolve some of the

contested legal issues in dispute in this matter, and the remaining issues before the District

Court are sufficiently intertwined with the issues on appeal” to warrant a stay. Stipulation

for Stay, Kohls v. Ellison, ECF No. 58, Case No. 0:24-cv-03754 (LMP/DLM) (D. Minn.

March 11, 2025). This Court stayed the case pending appeal. Order Staying Case, Kohls

v. Ellison, ECF No. 61, Case No. 0:24-cv-03754 (LMP/DLM) (D. Minn. March 12, 2025).




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       Less than two months later (on April 23), X initiated this lawsuit. ECF No. 1. Like

the Kohls plaintiffs, X argues the statute is facially unconstitutional because it is a content-

based restriction that does not survive strict scrutiny. Compare ECF No. 1 ¶¶ 53-70

(Count 1), with Compl. ¶¶ 87-95, Kohls v. Ellison, ECF No. 1, Case No. 0:24-cv-03754

(LMP/DLM) (D. Minn. Sep. 27, 2024). Also like the Kohls plaintiffs, X argues the statute

is void for vagueness. Compare ECF No. 1 ¶¶ 85-95 (Count 3), with Compl. ¶¶ 104-20,

Kohls v. Ellison, ECF No. 1, Case No. 0:24-cv-03754 (LMP/DLM) (D. Minn. Sep. 27,

2024). Indeed, both complaints identify some of the same allegedly vague words and

phrases.   Compare ECF No. 1 ¶¶ 87-89, with Compl. ¶¶ 115-18, Kohls v. Ellison,

ECF No. 1, Case No. 0:24-cv-03754 (LMP/DLM) (D. Minn. Sep. 27, 2024). As a social

media company, X also brings a claim under Section 230, which is not a claim in the Kohls

case. X attached the Attorney General’s preliminary injunction brief in Kohls as Exhibit 1

to its Complaint. ECF No. 1-1; see also ECF No. 1, at 3 n.2 & 10 n.7 (citing the brief).

The Court identified this case as related to Kohls and reassigned it. ECF No. 10.

                                        ARGUMENT

       The Court has broad power to stay proceedings to control its docket. Landis v. N.

Am. Co., 299 U.S. 248, 254 (1936); Sierra Club v. U.S. Army Corps of Eng’rs, 446 F.3d

808, 816 (8th Cir. 2006). “‘When considering a motion to stay, courts consider the potential

stay’s impact on judicial resources, the hardship and inequity to the moving party if the

case is not stayed, and the prejudice to the non-moving party.’” Silverado Park Ass’n v.

Country Mut. Ins. Co., 742 F. Supp. 3d 910, 918 (D. Minn. 2024) (quoting Kellogg v. Watts




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Guerra, LLP, No. 18-cv-1082 (DWF/BRT), 2018 WL 3432048, at *1 (D. Minn. July 16,

2018)); see also Taqueria El Primo LLC v. Ill. Farmers Ins. Co., 705 F. Supp. 3d 918, 924

(D. Minn. 2023).2 The moving party has the burden to establish a stay is appropriate. FCA

US LLC, No. 24-CV-4041 (LMP/TNL), 2025 WL 314966, at *2 (D. Minn. Jan. 28, 2025).

       A stay is warranted here. Both actions raise two important constitutional questions:

whether the statute violates the First Amendment and whether it is unconstitutionally

vague. It would be more efficient for the parties and this Court if those questions are

answered at the same time for both cases. Staying this case now puts this case in the same

procedural posture as Kohls: post-answer and pre-discovery.

       Additionally, the Eighth Circuit appeal in Kohls turns, in large part, on how section

609.771 should be interpreted, which will bear on how this Court should interpret the

statute in this case.3 The Eighth Circuit may also consider likelihood of success on the

merits, which will have a direct impact on the First Amendment claims in this case.

       X may argue that the Eighth Circuit in Kohls may not address the merits at all—

indeed, this Court resolved the preliminary injunction motion on irreparable harm alone.

That possibility does not undercut the efficiencies gained from a stay. Although this Court



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  The Attorney General does not argue that he would suffer hardship or inequity if the stay
is not granted.
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  In addition, the Attorney General has asked the Eighth Circuit to certify to the Minnesota
Supreme Court a question about the scope of section 609.771 if the Eighth Circuit finds
the statute ambiguous. If the Eighth Circuit certifies the question, then a stay is even more
appropriate, because the federal courts will get definitive guidance from the Minnesota
Supreme Court on the meaning of Minnesota law.


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resolved the motion on irreparable harm alone, on appeal, the Kohls plaintiffs have asked

the Eighth Circuit to remand with instructions to preliminarily enjoin defendants from

enforcing the statute.4 And their engagement with the merits was not cursory; to the

contrary, approximately eight pages of the Kohls plaintiffs’ appellate brief addresses why

they believe the statute is an unconstitutional limit on core political speech. 5 Likewise,

although appellees took the position that the Eighth Circuit need not reach the likelihood-

of-success element (and if the Court concluded the district court needs to, it should remand

for the district court to perform the analysis in the first instance), seventeen pages of

Appellee Keith Ellison’s brief addressed the merits. 6

         If the Eighth Circuit interprets the statute, or assesses likelihood of success on the

merits of the First Amendment claims, the Court and both parties will be worse off without

a stay. See Silverado Park Ass’n, 742 F. Supp. 3d at 918 (considering impact on judicial

resources when determining propriety of a stay). Specifically, this Court could interpret

the term “deep fake” in a way that is inconsistent with the Eighth Circuit’s interpretation.

Or this Court could reach the merits of the statute before the Eighth Circuit does, and thus

without the benefit of whatever guidance the Eighth Circuit eventually provides. That

sequence of events raises the possibility of inconsistent decisions between this Court and



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    Appellants’ Brief 14, Kohls v. Ellison, Case No. 25-1300 (8th Cir. Apr. 18, 2025).
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    Id. at 38-46.
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   Appellee Ellison’s Brief 35-51, Kohls v. Ellison, Case No. 25-1300 (8th Cir. May 19,
2025); see also id. at 35 (“Even if the Court reaches the likelihood-of-success on the merits,
it should either remand or affirm.”).


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the Eighth Circuit, which could prompt unnecessary and protracted motion practice about

how to reconcile any new guidance from the Eighth Circuit during the remainder of this

matter.

       The absence of a stay also poses a risk of inefficient and cumbersome discovery

proceedings. Without a stay, discovery will commence shortly, and the parties will proceed

under their present understanding of the statute. But if later guidance from the Eighth

Circuit reveals that this understanding was incorrect, the parties may have to modify the

parameters of discovery or even redo parts of discovery that have already been completed.

Neither of these possibilities promotes judicial economy or the prudent stewardship of

judicial resources. Id. The better course is to stay the case and, once the resolution of

Kohls allows a state of play to be determined with certainty, commence discovery in this

matter in an orderly fashion.

       As for prejudice to X in the absence of stay, there will be none. This statute has

been in effect since August 1, 2023. 2023 Minn. Laws ch. 58, § 2. Yet X does not plead

that the Attorney General has ever threatened to enforce the statute whatsoever, much less

against X or any other social media company. Further, under federal law, X cannot be sued

or be held liable on a theory that “treat[s X] as the publisher or speaker of any information

provided by another information content provider.” 47 U.S.C.A. § 230(c)(1), (e)(3). There

is nothing in the language of the statute indicating the Legislature intended to hold social

media companies liable in the manner catastrophized by X, or that it intended the statute

to be contrary to Section 230. Indeed, both statutes that were passed in the same chapter



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refer to Section 230. 2023 Minn. Laws ch. 58, § 1 (“This section does not alter or amend

the liabilities and protections granted by United States Code, title 47, section 230, and shall

be construed in a manner consistent with federal law.” (emphasis added)); id. § 3

(“Nothing in this section shall be construed to impose liability upon [an interactive

computer service] solely as a result of content or information provided by another

person[.]”).

       As the statutes were considered and passed at the same time, it is clear the legislature

did not intend to hold social media companies liable in a manner inconsistent with Section

230. The Court need not decide the merits of X’s preemption claim now; but the lack of

allegations about any risk of enforcement coupled with the statutory language suggesting

the Legislature did not intend to pass a law at odds with Section 230 indicate no prejudice

to X if the Court grants a stay.

       For the reasons stated herein, Attorney General Ellison respectfully asks that this

Court stay the current Action, on the same terms as the Kohls case is stayed—that is, the

case is stayed until further order of the Court and “[w]ithin one week after the deadline to

seek review of the decision of the U.S. Court of Appeals for the Eighth Circuit by the

Supreme Court [in the Kohls matter], the parties shall advise this Court in a joint letter

whether any party has filed a petition for a writ of certiorari with the Supreme Court [in

the Kohls matter]. The parties should also advise the Court whether a continued stay of

the proceedings is warranted.”




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Dated: June 3, 2025                  Respectfully,

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